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                  IN THE UNITED STATES DISTRICT COURT FOR THE
                               SOUTHERN DISTRICT OF GEORGIA
                                          AUGUSTA DIVISION


                                                 *


                                                 *
DENTAVIA KHIRY MCNAIR,

        Petitioner,
                                                                   CV 114-214
                  V.                                      (formerly CR 113-010]

                                                 *
UNITED STATES OF AMERICA,
                                                 *


                                                 *
        Respondent.
                                                 *




                                             ORDER




     Before              the      Court         IS       Petitioner's           motion       for


"Reconsideration           and    or       Reinstatement      of    Petitioners      [sic]    28

U.S.C. § 2255 Habeas Corpus Pleading Which Was Dismissed Without

Prejudice" ("Motion for Reconsideration") (doc. 568)^ and motion

to label Petitioner's Motion for Reconsideration as a "Motion to


Supplement         and    or    an    Addendum"       ("Motion       to   Re-Label")     (doc.

570).

        On May 21, 2013, Petitioner pled guilty to crimes involving

fraudulent             income-tax           returns,      misuse          of     individually

identifiable health information, and aggravated identity theft.

(Doc.       272.)         On     December       17,    2013,       this    Court     sentenced

Petitioner to 108 months of imprisonment.                           (Doc. 349.)       The next

day. Petitioner filed notice of a direct appeal.                                 (Doc. 351.)


        ^   For    the     sake      of    consistency    and      clarity,     unless   stated
otherwise,        all     document        citations    will    refer      to   the   underlying
criminal case (1:13-cr-OlO), not this civil case (1:14-cv-214).
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On November 17, 2014, Petitioner filed his initial petition for

habeas       corpus    under          28    U.S.C.      §    2255     (the    "First      Petition")

(doc.    440), and          a    corresponding           memorandum          of law     (doc.       441.)

The    Clerk    opened          a     new    case      number,       l:14-cv-214        (the       "First

Habeas       Action"),          and    docketed        the     First    Petition        as    document

one.



        On    December          9,     2014,      this      Court     dismissed         Petitioner's

First     Petition         without          prejudice        because        Petitioner's           direct

appeal in       his    underlying criminal case                       had    not   yet concluded.

(Doc.    448.)        On     January         7,   2015,        the   Eleventh      Circuit         denied

Petitioner's          direct          appeal      in     his    underlying         criminal         case.

(Doc.    449.)        Three         weeks later.         Petitioner filed           a "Memorandum

of Law In Support of Petition for Writ of Habeas Corpus Pursuant

to Title 28 U.S.C. § 2255" (the "Second Petition").                                      The Second

Petition was identical to the memorandum of law filed along with

his First Petition but excluded the pro se § 2255 form used to

create the First Petition.                     (Doc. 452.)            The Second Petition was

not    docketed       as    a    new    case,     but instead docketed in                    the    First

Habeas Action and the underlying criminal case.                                    (See Doc. 452;

First Habeas Action, Doc. 8.)

        Because the         Second         Petition      was    not docketed       as   a motion in


either docket.             Respondent did              not respond to it and the                    Court

did not review it.                   On September 25, 2017, Petitioner filed his

Motion for       Reconsideration in                    which    he   requested "REIN STATMENT

of his Habeas Corpus dismissed by this Court without Prejudice
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in    the    Administration      of    Justice".          (Doc.       578     (emphasis         in

original)).            Petitioner            attached      to        his       Motion          for

Reconsideration        a   new   pro    se    §   2255    form       which    alleged        five

grounds for relief, none              of which      were identical to                 his   First

Petition.       In response, the Government requested this Court deny

Petitioner's Motion for Reconsideration, open a new habeas case

based    upon   Petitioner's        First     and   Second      Petitions,            and   order

additional briefing on two of the new claims Petitioner raised

in his Motion for Reconsideration.                  (Doc. 569.)

        On   October   23,    2017,    Petitioner        filed       his     Motion     to     Re-

Label.       (Doc. 570.)      Petitioner alleges that he was in solitary

confinement for eighteen months without access to the docket and

did   not    realize   that   his     Second      Petition     was    still      in    front    of


the   Court.      According      to    Petitioner,        he   filed       the    Motion       for

Reconsideration because he believed that any new petition would

be time-barred and his only option was to attempt to revive his

First Petition.        Petitioner requests that the Court construe his

Motion for Reconsideration as a motion to amend in light of the

fact that his Second Petition is still on the Court's docket.


        Given the admittedly confusing procedural state of this case,

the Court takes the following actions.                   First, the Court ORDERS the

Clerk to DOCKET the Second Petition (doc. 452) as a new civil case

along    with   Petitioner's        First     Petition     (doc.      440).       Petitioner

SHALL file      all   further    motions      related    to    his    Second     Petition       in


this new civil case.          Second, the Court ORDERS the Clerk to cross-
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docket this Order in the new habeas case, the First Habeas Action

(1:14-CV-214),         and     the     underlying         criminal      case    (1:13-cr-OlO).

Third,     the        Court        DENIES    AS     MOOT     Petitioner's         Motion        for

Reconsideration         (doc.        568)    and    Motion       to    Re-Label       (doc.    570)

because     they      are     no    longer      applicable       now    that   the     Court    has

docketed a       new    civil case          using Petitioner's           First Petition and

Second Petition.             Fourth, because Petitioner's Motion to Re-Label

treats     his   Motion       for    Reconsideration        as a       motion to amend, the

Court allows Petitioner the opportunity to file a motion to amend

his First and Second Petition in the new civil case.


      In    other      words,       the     Court    is    pressing      the    reset    button.

Petitioner's Second            Petition         should    have    been    docketed      as a    new


civil case.           By treating Petitioner's Second Petition as a new

civil case, the Court is essentially putting the Petitioner back

in the position he would have been in had the Second Petition

been docketed correctly in January 2015.                              The Court stresses to

Petitioner, however, that the only documents presently before it

in   the   new     civil      action      are     Petitioner's         First   Petition       (doc.

440) and Petitioner's Second Petition (doc. 452).                                 Petitioner's

pro se § 2255 form petition which he attached to his Motion to

Reconsider       is    not    before      the    Court.      Should      Petitioner      wish    to

amend      his     pending         Second       Petition     —    and     he    is     under     no

obligation to do so — he must make a request for amendment by

motion     to    this        Court.         The     Government         will    then    have     the
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opportunity to         challenge      Petitioner's    amendments       and   the   Court

will rule on whether the requested amendments may be allowed.

        Accordingly, Petitioner, an Inmate at the Federal Correctional

Institution In Beaver, West Virginia, has filed with this Court a

motion under 28 U.S.C. § 2255 to vacate, set aside, or correct his

sentence.        The    Clerk    of   Court   SHALL    SERVE     the   United      States


Attorney with this Order and a copy of the § 2255 motion — In this

case the First Petition (doc. 440) and the Second Petition (doc.

452).

        The Court DIRECTS Respondent to file an answer or response

In   the   new   civil    case    within   sixty     days   of   the   date     of this

Order, and Petitioner shall furnish the United States Attorney In

Augusta, Georgia,         with   copies of all future motions or papers

filed In this case.             No discovery shall be had by either party

without leave of Court.


        ORDER ENTERED at Augusta, Georgia, this                         ay of April,

2018 .




                                          J. ^N^x^ALL/CHlW^ JUDGE
                                         unitItdT^ates district court
                                         SOUTKBRN     DISTRICT OF GEORGIA
